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                  EXHIBIT

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         Case 2:20-cv-08471-MEF-AME Document 36-2 Filed 06/07/21 Page 2 of 7 PageID: 380




              3Daters'on 3police Department                                                               Fus covrou+ _2/7- 0oUS06

       11f   BROADWAY PATERSON, NEW JERSEY 07505                 MUNICIPAL COOE     !OFFENSE           REPORT
                                                                   NJ-001608                                               L          INCIDENT REPORT                  []



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                                                                           NARRATIVE ON REVERSE
Case 2:20-cv-08471-MEF-AME Document 36-2 Filed 06/07/21 Page 3 of 7 PageID: 381




                                                                               File # 19-001306




        Dispatched to 1 1 1 Broadway, (H.Q) on a report of someone trying to kill him.

  Upon arrival, these officers along with Unit 109 made contact with Mr. Jameek Lowery

  at the main desk who stated that someone was trying to kill him by the Wendy's,

  located at 145 Broadway.   Mr. Lowery became very irate towards these officers, at this

  time Unit 109, (Officer Mike Avila), and Unit 107(Officer Kyle Wanamaker and Officer

  Mucio Lucero escorted Mr. Lowery towards PFD 94 and placed him in the back of the

  ambulance.

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        Mr. Lowery became extremely irate when placed in the back of PFD 94. These

  officers used force and compliance holds to restrain Mr. Lowery due to   the fact that he
  struck Officer Kyle Wanamaker and Officer Mucio Lucero in 'the face. These officers

  then placed handcuffs on each hand of Mr. Lowery's and restrained him to the gurney.

  Due to Mr. Lowery's state of mind, these officers decided not to file criminal charges for

  Aggravated Assault on Law Enforcement Officer. Mr. Lowery was transported to St.

  Josephs Hospital for medical treatment. For further information, refer to Unit 109 report.



        A use of force report was completed, and is attached to this report.




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          Case 2:20-cv-08471-MEF-AME Document 36-2 Filed 06/07/21 Page 4 of 7 PageID: 382



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          Case 2:20-cv-08471-MEF-AME Document 36-2 Filed 06/07/21 Page 5 of 7 PageID: 383


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